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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
                              Criminal No.: 21-CR-108 (2) (PAM/TNL)

    UNITED STATES OF AMERICA,                          )
                                                       )
                                      Plaintiff,       )
    vs.                                                )         LIST OF SELECTED EXHIBITS
                                                       )
                                                       )
    TOU THAO,                                          )
                                                       )
                                                       )
           Defendant.                                  )



          Below is a list of exhibits that were admitted in the above-captioned case in the

Government’s case-in-chief. With respect to the following list, the parties request a

limiting instruction for the jury.1 Specifically, we respectfully request that the Court

read the following stipulated limiting instruction with respect to the following exhibits:

          In considering the following training evidence, I instruct you that you may only

consider the training evidence as to the particular defendant (or defendants) who

received that training, and not as to any other defendant.

      1. Government Exhibit 53: FTO Training Handbook

      2. Government Exhibit 66: Kueng Policies and Procedures Certification

          02/07/2019


1
  Mr. Thao’s position is that should he have been tried alone, the following list would not be admissible on relevance
grounds and thus would not be within the purview of the jury. In addition to the list laid out here, Mr. Thao’s position
is that Government Exhibits 54, 64, 65, 69, and 70 would not be admissible should he been tried singularly. The
Government disagrees with that position.
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3. Government Exhibit 67: Kueng Policies and Procedures Certification 11/26/107

4. Government Exhibit 68: Kueng Workforce Training

5. Government Exhibit 71: Lane Policies and Procedures Certification 02/07/2019

6. Government Exhibit 72: Lane Workforce Training

7. Government Exhibit 73: Lane/Kueng Academy Use of Force PowerPoint

8. Government Exhibit 74: Lane/Kueng Academy Defensive Tactics Lesson Plans

9. Government Exhibit 77: Kueng Academy Testing Selections

10. Government Exhibit 78: Lane Academy Testing Selections

11. Government Exhibit 80: Lane/Kueng EMR Sign-in Sheet – MPD Academy

12. Government Exhibit 81: Emergency Medical Responder Textbook

13. Government Exhibit 82: EMR Training PowerPoint Selections

14. Government Exhibit 83: EMR Book Selections

15. Government Exhibit 84: Lane EMR, CPR Enrollment and Assessment Materials

16. Government Exhibit 85: Kueng EMR, CPR Enrollment and Assessment

   Materials

17. Government Exhibit 92: Lane Henn. Co. Juvenile Det. Ctr. Offer Letter and New

   employee orientation

18. Government Exhibit 93: Lane Henne Co. Juvenile Det. Ctr. Resignation letter

19. Government Exhibit 94: Lane Henn. Co. Juvenile Det. Ctr. Field Training

   Emergency Response Selections
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   20. Government Exhibit 95: Lane Henn. Co. Juvenile Det. Ctr. Training Log

      (spreadsheet)

   21. Government Exhibit 96: Lane Henn. Co. Juvenile Dtr. Ctr. Positional Asphyxia

      Training 2017 & 2018

   22. Government Exhibit 103: Kueng Henn. Tech Transcript

   23. Government Exhibit 104: Lane Henn. Tech Transcript


Dated: February 15, 2022                    Respectfully Submitted,

CHARLES KOVATS                               KRISTEN CLARKE
Acting United States Attorney                Assistant Attorney General
                                             Civil Rights Division

_/s/ Manda M. Sertich____________            __/s/_Samantha Trepel________________
BY: MANDA M. SERTICH                         BY: SAMANTHA TREPEL
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